Case 1:18-cv-00114-BLW

Raloh Janes Reyes Ale, S33UN'

full name/prisoner number)

Clo Tsee
Pio, Bex Joule
Reise, Adkho ¥37¢1

(complete mailing address)

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U.S. COURTS

 

  
 

MAR ~§ 2018 |
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St PAL KENYON
CLEMY, LISTERO?T OF IBAHO

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

RALPH Dames Reyes

(full name)
Plaintiff,

Vv.

| Case No. j\¥- ev- H14- Blw

(to be assigned by Court)

PRISONER COMPLAINT

CORT) HialrH SERVIES Lic,

f

OTohn De e,

Jury Trial Requested: AN Yes

 

No

 

Defendant(s), -

(if you need additional space, use a blank

page for a continuation page)

 

A. JURISDICTION

The United States District Court for the District of Idaho has jurisdiction over my claims under:

(check all that apply):

Kx 42 U.S.C. § 1983 (applies to state, county, or city defendants)

___._ Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S, 388
(1971) and 28 U.S.C. § 1331 (applies to federal government defendants only)

_x Other federal statute (specify) Hr pea ; or diversity of citizenship.

_2<  Ialso ask the federal court to exercise supplemental jurisdiction over state

law claims,

PRISONER CIVIL RIGHTS COMPLAINT « page _\_

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B. PLAINTIFF
My name is (2.| pl 3. K Gye . Tam a citizen of the State of Zdkh o ,
presently residing at_Tdaho Stete Cerrectieng | Conder

C. DEFENDANT(S) AND CAUSE(S) OF ACTION

(Copy and use a separate page for each defendant and each different type of claim; for example, ifyou have two different
claims against one defendant, you will use two pages. Attach a continuation page if needed, but try to be brief.)

1, Tam suing Cori2en Hex I th Services 44 c.. who was acting as hee Ith Cate ter peut refit Gapiny
(defendant) (job title, if a person; function, ifan entity)

forthe Siete of Tdeby by the wey of Contracts | soreenerrd

(state, county, city, federal goverment, or private entity performing a public function)

 

os, ntinuela
2, (Factual Basis of Claim) 1 am complaining thaton_ Guar 13 + ob din) Gentine Defendant did
(dates)
the following (state how Defendant participated in the violation and include the reason Defendant so acted if known):

(1) Certzen ea (th Servilel LL 1s &_Orivcte fir Ore Sf Cer pers hea Whe

employed Decter Sohn Dee Chews enh ta is Curcenty Unknow) + Plesn ttf)

De Dehn Pee Cefuced b Onvide Me. with hdeguste Medics | Cre

 

 

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Medic! teed, ¢ftee Xess Steyuk 1, the Groin lng an Officer Gnd Suffered

Serica play sice| \nducy thet Veguited treatment, (2 Ceri2en Employees acte lesed

 

 

 

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4 Privvcte esi inftomattoin te Epo, Gdminicrraters tnt c (ton
or Consent in vicletin of rere. (3) Corizen if Sued fer Negi gort Cot'aas

 

ef sts employee under She dee te ne of Cecdendeat Super, cf

3. (Legal Basis of Claim) I allege that the acts described above violated the following provisions of the
Constitution, federal statutes, or state laws:
Q) Or, Sohn Dee Vizlcted ny Tigh is Under the &t barcaduaat Lihew be lanere J
My Se cous Wediccl weed en Committed the slate fea tick of Neshoence and
Medice| Melorcsetice, GF Sch Le, Stele lew Chae Certdon 1 Sucd Dake
the Decteine off Respondent Superien Tela Dow elsp diccleted Mg
Privete Protected Mrditel tnd ey me tycn to Onevthor, Zed Salf in Vickdrén
oF WurpAa.
4, Lallege that I suffered the following injury or damages as a result:

As ¢ tewutter Dr Sohn Deol arty cay Endler In -4¢tien ZL heave
Su Lfere J Pecmnetye Qhucice | bandas ni Pein ind Sule AG, th sdui fin
Neve’ Su fhered enictiine | Mente! indusrot nctvdhG de preiuch ,

 

 

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5. Iseek the following relief: (1) Cemenctkry deneget “sclach Doben jeat< In the
anevat of B [b,0m cco, (2) Penstive Demsget in the amount of Y SOG cc.
AS Las db ecch Defendant (3) hey other fe lie f the Ceurf deems Plaiat ¢
1 $s ent itt cd

6. [am suing Defendant in his/her \ypersonal capacity (money damages from Defendant personally), and/or

__ Official capacity (seeking an order for Defendant to act or stop acting in a certain way; or money damages from an

entity because of Defendant's acts, as allowed by law); ot >S, Defendant is an entity (government or private business),

7, For this claim, I exhausted the grievance system within the jail or prison in which I am incarcerated.
ox Yes No, If “Yes,” briefly explain the steps taken to exhaust; if “No,” briefly explain why full
jail or prison grievance remedies were not exhausted.

 

 

 

 

D. PREVIOUS OR PENDING LAWSUITS

T have pursued or am now pursuing the following other lawsuits: (include (1) all lawsuits in state or federal
court related to the subject matter of this action, and (2) any federal court civil rights lawsuits, related or unrelated, and
note whether you have received a strike under 28 U.S.C. §_1915(g) for filing a complaint that is frivolous, malicious, or
fails to state a claim upon which relief can be granted.)

Court Case No, Case Name Status of Case Strike?

Nac

 

 

 

 

 

 

E. REQUEST FOR APPOINTMENT OF ATTORNEY

Ido donot request that an attorney be appointed to represent me in this matter, I believe that
I am in need of an attorney for these particular reasons which make it difficult for me to pursue this
matter without an
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F, DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury:

that I am the plaintiff in this action, that I have read the complaint, and that the information contained in
the complaint is true and correct. 28 U.S.C. § 1746; 18 U.S.C. § 1621; and

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that I deposited this complaint postage prepaid in a United States postal depository unit on
3-6-1 (date); OR that I gave the complaint to prison officials for mailing and filing with the Clerk
of Court under the indigent inmate policy on (date); OR (specify other method)

 

Executedat _1 SCC on 3~ d~ Qo/&

(Location)

 

 

Note: Fill in the page numbers. Keep one copy of the complaint for yourself (or you may send a copy to the Clerk
of Court with your original complaint so that the Clerk can stamp the date and case number on the copy and return it to

you), but do not send extra copies of the complaint to the Court Jor Defendants or otherwise. Do not attach original exhibits

fo your complaint, such as your only grievance copy. Do not attach more than 25 pages of exhibits, Ifyou have more

exhibits, wait until the Court determines you can proceed and then seek leave to file them Jor an appropriate purpose. After
your complaint has been filed, it must be reviewed by a federal judge to determine whether you can proceed.

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10/24/2011)

 
